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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,
                         Plaintiff,                                          No. 1:22-mj-91


 v.
                                                                            APPEARANCE
 CHAD HEATHCOTE,
                         Defendant.



TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

         The undersigned hereby enters his appearance as counsel in this case for the Defendant,

Chad Heathcote.


                                                             /s/ Andrew Graeve
                                                           Andrew Graeve, Assistant Federal Defender
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                                                           ATTORNEY FOR DEFENDANT



                CERTIFICATE OF SERVICE
  I hereby certify that on May 5, 2022, I electronically
  filed this document with the Clerk of Court using the
  ECF system which will serve it on the appropriate
  parties.
                           /s/ Theresa McClure
